                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                           No: 23-2681

                 Dylan Brandt, by and through his mother Joanna Brandt, et al.

                                                      Appellees

                                                 v.

           Tim Griffin, in his official capacity as the Arkansas Attorney General, et al.

                                                      Appellants


______________________________________________________________________________

        Appeal from U.S. District Court for the Eastern District of Arkansas - Central
                                   (4:21-cv-00450-JM)
______________________________________________________________________________

                                             ORDER

       The motion to hold the briefing schedule in abeyance is granted. The briefing schedule

will be held in abeyance pending disposition of appellants' Petition for Initial Hearing En Banc.



                                                        September 08, 2023




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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